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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                 WESTERN DIVISION



 UNITED STATES OF AMERICA,                               5:23-CR-50007-KES

           Plaintiff,
                                                       ORDER ADOPTING
    vs.                                         REPORT & RECOMMENDATION AND
                                                SENTENCING SCHEDULING ORDER
 GORDON RAY STANDING BEAR,

           Defendant.


       On July 7, 2023, defendant, Gordon Ray Standing Bear, appeared before

Magistrate Judge Danetta Wollman for a change of plea hearing. Magistrate Judge

Wollman issued a report recommending the court accept defendant’s petition to plead

guilty to the indictment, which charges him with Possession of a Firearm and

Ammunition by a Prohibited Person, in violation of 18 U.S.C. §§ 922(g)(1) and

924(a)(8). Defendant waived any objection to the report and recommendation. Upon

review of the record in this case, it is

       ORDERED that the report and recommendation (Docket 41) is adopted. The

defendant is adjudged guilty of Possession of a Firearm and Ammunition by a

Prohibited Person, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8).

       It is FURTHER ORDERED that the sentencing hearing in this matter will be

held on October 23, 2023 at 11 a.m. in Rapid City Courtroom 2.

       Dated July 7, 2023.

                                    BY THE COURT:


                                    /s/ Karen E. Schreier
                                    KAREN E. SCHREIER
                                    UNITED STATES DISTRICT JUDGE
